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TRULINCS 77516112 - ISAAC, JUSTIN MICHAEL - Unit: LOF-K-B


FROM: 77516112
TO:
SUBJECT:
DATE: 12/04/2023 09:26:18 PM

Clerk's Office
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF VIRGINIA
600 Granby Street
Norfolk, Virginia 23510

December 4, 2023

Dear Sir or Madam,

Enclosed is [are] (3) copy of my Motion to Vacate, Set Aside, or correct a Sentence by a person in Federal Custody, Motion
Under 28 U.S.C. Section 2255), along with several attachments: a Memorandum In Support, Affidavits of Justin Isaac, Exhibits
A thru I. To my knowledge the above papenvork is filled out as completely and accurately as possible, but I do wish to explain
what I worry may be viewed as shortcomings In the documents.

First, as to the Application of 2255 and Memorandum In Support, I have attempted to supply the necessary claims and grounds
in my case in these documents and as I perceived from the instructions I have not cited case law as it was not required. I do
hope that this was a fitting following of the Court's application rules. I am filing in pro se.

Second, concerning the Exhibits that are missing. The Staff at Lompoc Facility was requested at numerous times to provide the
necessary memo that states their defined reasoning for informing me in September 2023 -when I finally received my discovery
in the mail from Brian Latuga- that I would be able access my discovery and later print my exhibits from the discovery drive
when my motion was complete and ready to be mailed; then on or about November 17,2023 confiscating my drive and
notifying me that I would no longer be able to Print the exhibits that I sited In the motion. With days left this was not enough time
to rewrite my entire motion and I must submit it as is in order to be in compliance with the statute expiration date. This discovery
information was mailed-in by Brian Latuga 1) already months late of my requests and 2) incomplete of documents, still I
proceeded to compile my findings which is now in the hands of the BOP. I have exhausted my attempts to obtain a
memorandum or valid certificate, signed by FCI Lompoc staff, and Unit Team Manager Gellene at lead in this issue or from the
prison Itself it has not yet been fruitful. The exhibits that have made it are from my file from pretrial that was managed to be
saved for use. Any missing exhibit has been viewed and sited from the discovery drive now being held by FCI Lompoc. This is
out of my control, please advise me if such documents is needed prior to your ruling or can be compelled by any written notice
from the Court to FCI Lompoc. I here stand by that the Off-the-record exhibits are in existence in the hands of FCI Lompoc
under all penalties of perjury. I will continue to try and obtain this notification and stand ready in support of any sited exhibit that
has not been abled to be attached due to the conflicts arisen by the staff at FCI Lompoc.

Respectfully,

Justin Michael Isaac
Reg. No 77516112
